                 IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,

                       Plaintiff,

                  v.

 PRINCE WILLIAM SOUND                     Case No. 3:22-cr-00087-SLG-KFR
 AQUACULTURE CORPORATION,

                       Defendant.


       ORDER RE FINAL REPORT AND RECOMMENDATION OF THE
           MAGISTRATE JUDGE UPON A PLEA OF GUILTY

      A plea agreement was filed in this case at Docket 14. Pursuant to Rule 11

of the Federal Rules of Criminal Procedure, this matter was referred to the

Honorable Magistrate Judge Kyle F. Reardon by the District Court, with the written

and oral consents of Defendant, counsel for Defendant, and counsel for the United

States. A proposed change of plea hearing was held before the magistrate judge

at which Defendant entered a guilty plea to Count 1 of the Felony Information,

Illegal Disposal of Hazardous Waste, which is a violation of 42 U.S.C.§

6928(d)(2)(A).

      Judge Reardon issued a Final Report and Recommendation at Docket 18,

in which he recommended that the District Court accept Defendant’s plea of guilty

to Count 1 of the Felony Information. No objections to the Final Report and

Recommendation have been filed.



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      The matter is now before this Court pursuant to 28 U.S.C. § 636(b)(1). The

Court has reviewed the Final Report and Recommendation and adopts it.

Accordingly, IT IS ORDERED that the Court ACCEPTS Defendant’s plea of guilty

to Count 1 of the Felony Information and Defendant is adjudged GUILTY of Count

1. An Imposition of Sentence hearing will be held on February 16, 2023, at 11:00

a.m. before District Judge Sharon L. Gleason in Anchorage Courtroom 2.

      DATED this 23rd day of November, 2022, at Anchorage, Alaska.

                                                /s/ Sharon L. Gleason
                                                UNITED STATES DISTRICT JUDGE




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